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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
(TAMPA DIVISION) 2019 JEN 20 AMI:

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CHRISTOPHER MARK PARIS, and
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs, Case No. 8:19-cv-00423
VS.

WILLIAM LEVINSON,
LEVINSON PRODUCTIVITY
SYSTEM, PC, a Pennsylvania
Corporation

 

THE DEFENDANT'S ANSWER
TO ENDORSED ORDER

STATE OF FLORIDA /
COUNTY OF HILLSBOROUGH /

I, DARYL GUBERMAN, as the sole owner and operator of Guberman-PMC, LLC
hereby state the following reasons for not obtaining legal counsel to date:

1. Guberman-PMC, LLC was improperly served with two different “Summons” for
the same case delivered to me by the Petitioner. The first “Summons” was
improperly served because it lacked a complaint and Clerk signature and/or Seal.
It also lacked an attorney's signature. Therefore, in order for me to obtain legal
counsel, I reserve my due process rights for Guberman-PMC to be properly
served before obtaining legal counsel.

2. The second “Summons” from the Petitioner also lacked a signature from an
attorney and included a complaint consisting of over five-hundred (500) pages of
unnecessary files, confusing charts, exhibits and other data unrelated to
Guberman-PMC. Such a lengthy complaint is against the rules for a short plain
statement of the claim. Further, before, obtaining legal counsel, Guberman-PMC
needs to know which of the two Summons is the real one. The first? Or second?

 

 
 

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3. The allegations in the complaint are directed toward multiple defendants
consisting of several individuals and companies unknown to me. The complaint is
confusing, unclear, and unnecessarily difficult to discover which of the allegations
are relevant to Guberman-PMC because of the multiple defendants integrated into
the complaint. Therefore, it's difficult to obtain legal counsel without knowing all
of the allegations directed specifically toward Guberman-PMC, LLC and separate
of the other parties.

4, Since Daryl Guberman, the Individual, and Guberman-PMC, LLC, the company
are both named in the lawsuit. The allegations from the Plaintiff need to be
specific for both entities, and separate from one another. I'm unable to obtain legal
counsel for Guberman-PMC until I understand the specific allegations in the
complaint made against Guberman-PMC, LLC, and independent of Dary]
Guberman.

5. Another individual by the name of Donald LaBelle is also named as a defendant
in the lawsuit and incorrectly indicated in the Complaint to be a “business
partner” and/or co-owner of Guberman-PMC, LLC. Since LaBelle has no
ownership, no managerial or decision-making authority with Guberman-PMC,
LLC, the complaint cannot “lump” the allegations together since LaBelle and
Guberman-PMC are separate entities. I'm not able to obtain counsel for
Guberman-PMC until I have a full understanding of the separate allegations
between LaBelle and Guberman-PMC.

6. The Complaint falsely alleges Guberman-PMC has a business “partnership” or
shared interests with other entities known as “IndustrialPR” and “Manufacturing
Partners.” Guberman-PMC, LLC has no involvement with either IndustrialPR or
Manufacturing Partners. Therefore, before I'm able to obtain legal counsel the
Complaint must separate the allegations made toward IndustrialPR,
Manufacturing Partners and Guberman-PMC, LLC since they are all individual
entities.

7. As the sole-owner and operator of Guberman-PMC, LLC, | ask the courts to
represent Guberman-PMC, LLC as pro se while waiting the court's decision on
my Motion to Dismiss for Lack of Personal Jurisdiction.

8. If my request is denied to represent Guberman-PMC, LLC as pro se during
preliminary proceedings, I ask the courts for 21 days to obtain legal counsel for
Guberman-PMC, LLC when the matter of personal jurisdiction is satisfied, and
after the LLC is properly served by the Plaintiff with a short plain statement of the
claim with allegations separate from the numerous individuals and entities named
as defendants in which I have no partnership agreement (written or verbal), no

 

 
 

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financial interests, no percentage of ownership, and no personal involvement in a
managerial, employment or decision-making capacity, directly or indirectly.

9. If my answer(s) and request(s) herein is denied, and the courts consider a default,
I respectfully ask the courts for Guberman-PMC, LLC to have an “opportunity to
be heard” as per the Rules of Civil Procedure. It is a basic tenet of jurisprudence
that the law abhors a default when I have in good faith made effort to respond to
this order on record.

WHEREFORE, Guberman-PMC, LLC prays that the Court accepts this response and
orders the Plaintiff to answer the Affidavit on record (Dkt. 47) challenging personal
jurisdiction. The affidavit was filed by the Defendant with the courts on May 28, 2019
and delivered the same day by certified mail to the Plaintiff's counsel for a response.
Since the Plaintiff has failed to respond in a timely manner, the Defendant moves the
court to compel the Plaintiff to respond to the affidavit to assist the court in resolving the
matter of personal jurisdiction.

Dated at Stratford, Connecticut this 19" day of June, 2019.

    

| Guberman
an-PMC, LLC

Notary:
Name: S tegen Roczel

Signature: ee DS

Date: June 19" 2019

Notary seal or signature

STEVEN BUCZEK
Notary Public

Connecticut
My Commission Expires Dec 31, 2023

 

 

 
